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                             IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF PUERTO RICO

        IN RE:                                          CASE NO. 22-01853-MCF

        ALEXIS RAMIREZ ROSADO
             Debtor(s)                                         CHAPTER 13

         BANCO POPULAR DE PUERTO RICO
             Movant(s)
                                                               INDEX
         ALEXIS RAMIREZ ROSADO
              Respondent (s)


                              MOTION FOR RELIEF OF AUTOMATIC STAY

        TO THE HONORABLE COURT:

                 Comes now, BANCO POPULAR DE PUERTO RICO (“BPPR”), through its

        undersigned counsel and very respectfully states and prays:

                 1.      On June 29, 2022, Debtor filed her Voluntary Petition seeking relief

        under Chapter 13 of the Bankruptcy Code.

                 2.      BPPR submits that at present, it is the holder in due course of the

        Mortgage Promissory Note enclosed as Exhibit A, hereto. (“The Note”).


                 3.   The Note is secured with a mortgage over Debtor's real property, as it

        appears in Exhibits "A", “B”, and “C” hereto.


                 4.   BPPR submits that Debtor has been utilizing the the realty that

        guarantees The Note as her residence without establishing a Debtor/Creditor

        relationship with BPPR and without providing any adequate protection to BPPR's

        security interest.
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                5.         BPPR submits that at present, The Note is due and payable in the total

        amount of $201,457.28. (See Exhibit "D" hereto.)

               6.          Without a Debtor/Creditor relationship, BPPR's only remedy to collect the

        amounts owed under The Note is to continue with foreclosure proceedings before the

        local courts.

               7.           Section 362(d)(1) of the Bankruptcy Code (11 U.S.C. §362(d)(1) ) reads

        as follows:

                       “(d)   On request of a party in interest and after notice and a hearing,
               the court shall grant relief from the stay provided under subsection (a) of this
               section, such as by terminating, annulling, modifying, or conditioning such stay –
                                  (1) for cause, including the lack of adequate protection of an
                                  interest in property of such party in interest;

                                      (2) ..."

                      8.       BPPR submits that Debtor failure to establish a Debtor/Creditor

        relationship with BPPR and without providing any adequate protection to BPPR's

        security interest, constitutes cause for the lifting of the Automatic Stay in favor of BPPR.

               9.       It is evident that under the circumstances of this case, BPPR's only remedy

        to collect the amounts owed under The Note, is to continue with foreclosure

        proceedings before the local courts.

               10.         BPPR submits that Debtor is not entitled to the protections of the

        Servicemembers Civil Relief Act of 2003. (See Exhibit “E” hereto.)

                WHEREFORE, it is respectfully prayed that BPPR be granted Relief from the

        Automatic Stay pursuant to 11 U.S.C. §362(d)(1) and be authorized to foreclose upon

        its collateral, with such other and further relief as this Court deems just and proper.
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               Ponce, Puerto Rico, this 26th day of July, 2022.


                                                       s/ Carlos G. Batista Jiménez
                                                       Carlos G. Batista-Jiménez
                                                       USDC-PR 206711
                                                       PO Box 331150
                                                       Ponce, Puerto Rico 00733-1150
                                                       Tel. (787) 843-3404 (787) 840-7435
                                                       Fax (787) 843-3431
                                                        Email: lcdobatista@frauyasoc.com




                               NOTICE TO ALL INTERESTED PARTIES

                  Within fourteen (14) days after service as evidenced by the certification, and an
        additional three (3) days pursuant to Fed. R. Bank. P. 9006(f) if you were served by
        mail, any party against whom this motion has been served, or any other party to the
        action who objects to the relief sought herein, shall serve and file an objection or other
        appropriate response to this paper with the Clerk’s Office of the U.S. Bankruptcy Court
        for the District of Puerto Rico. If no objection or other response is filed within the time
        allowed herein, the motion will be deemed unopposed and may be granted unless: (i)
        the requested relief is forbidden by law; (ii) the requested relief is against public policy;
        or (iii) in the opinion of the Court, the interest of justice requires otherwise.


               Ponce, Puerto Rico, this 26th day of July, 2022.


                                                       s/ Carlos G. Batista Jiménez
                                                       Carlos G. Batista-Jiménez
                                                       USDC-PR 206711
                                                       PO Box 331150
                                                       Ponce, Puerto Rico 00733-1150
                                                       Tel. (787) 843-3404 (787) 840-7435
                                                       Fax (787) 843-3431
                                                        Email: lcdobatista@frauyasoc.com
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Payoff Statement                                               07-21-22

BANCO POPULAR - MORTGAGE SERVICING
PO BOX 362708
SAN JUAN PR 00936-2708

We certify that the following figures are correct except if advances
on escrow disbursements or payment reverses are made after the date of
this payoff statement. The escrow balance will be reimbursed after the
payment in full, please pay with an official check or money order
before 12:00 m of the date specified below.

Uso Exclusivo Quiebras
Hector Naz-Rio-Cortes
Ana Lopez-Rodriguez
Urb Santa Rosa
28-17 Calle 13
Bayamon PR 00959
                                           Loan No: 0700345309
                                           Bal Purpose: Payoff
                                           Orig Loan Amount:       91,258.00
                                           Escrow Balance:               .00
                                           Loan Type/Inv No:     FHR/707
                                           FHA/VA/MI:        501-5298712 703
                                           First lien: (Y/N) Y
Property Address:
Hector Naz-Rio-Cortes
28-17 CALLE 13
URB SANTA ROSA
Bayamon PR 00956

Payoff Statement good through August 01, 2022

         Only certified funds will be accepted for
         payoff shown below on the captioned mortgage.

This loan is due for the May 01, 2007 payment.
The current total unpaid Principal Balance is:             $       79,064.01
Total Interest Due From 04-01-07 through 08-01-22                  90,923.60
Escrow/Impound Overdraft                                           16,258.34
Recoverable Corporate Advance                                      10,000.53
Unpaid Late Charges                                                 3,937.70
Unpaid Other Fees                                                      70.10
Legal Fees                                                          1,203.00
Add Late Charge                                                          .00
 * * * * Total amount to pay loan in full * * * * * $             201,457.28

Interest Rate                        7.50000
Int Per Diem (365 days)             16.2460294
Annual Base (360 days)             494.15

Funds received on or after August 01, 2022 will require an additional
$ 494.15 interest per Month.
If this is an FHA-Insured Mortgage on or after August 2,1985 and closed
before January 21, 2015, we must receive the payoff funds on the first
business day of the month or one full month interests will be accrued.
FHA mortgage insured prior to August 1, 1985, require a thirty-day
advance written notice of your intent to prepay the loan in full.
   Case:22-01853-MCF13
    Case:23-01428-MCF11 Doc#:13
                           Doc#:28-5 Filed:07/26/22
                                         Filed:06/22/23
                                                      Entered:07/26/22
                                                          Entered:06/22/23
                                                                       15:23:19
                                                                           21:45:39
                                                                                  Desc:
                                                                                     Desc:
                                                                                        Main
                  Exhibit Motion Document
                                 for relief of Stay
                                                 Page
                                                    22-01853
                                                      41 of 43 Page 41 of 43
These figures are subject to final verification by the Note holder.
Figures may be adjusted if any check/money order previously received is
rejected by the institution upon which it was drawn. A late charge may be
assessed for payments made 15 days after each due date. The total
amount of late charges disclosed in this payoff statement as of
August 01, 2022 does not include additional late charges incurred after this
date.

If this property is sold, please provide the seller's forwarding address.

Prepared and Reviewed By:__________________________________
                           Customer Service Department

XP041/S15
Case:22-01853-MCF13
 Case:23-01428-MCF11 Doc#:13
                        Doc#:28-5 Filed:07/26/22
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               Exhibit Motion Document
                              for relief of Stay
                                              Page
                                                 22-01853
                                                   42 of 43 Page 42 of 43
                                                        EXHIBIT E
Case:22-01853-MCF13
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                              for relief of Stay
                                              Page
                                                 22-01853
                                                   43 of 43 Page 43 of 43
